Case 2:05-cr-20268-.]DB Document 5 Filed 07/25/05 Page 1 of 2 Page|D 3

UNITED S'I`ATES DISTRICT COURT FlLE§IJ EH'M__ D\C-
WESTERN DISTRICT OF TENNESSEE

Western Division 05 JUL 25 PH 53 l:
UNITED STATES OF AMERICA

 
 

-vs- Case Nol@"@§i;):§ E(F‘}.QY-Ml

CHARLES FRANKLIN GRUBB

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment ofcounsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
' The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
' All purposes including trial and appeal

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DoNE and oRDERED in 167 Norrh Main, Memphis, this 0?54 day ofJuly, 2005.

#<O~,¢Mw k/. M/&f
DIANE K. \/Escovo
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Ofiice

Assistant Federal Public Defender
lntake

CHARLES FRANKL[N GRUBB

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CR-20268 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed

 

Stephen C. Parker

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Honorable J on McCalla
US DISTRICT COURT

